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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION



PHERAH LLC,

     Plaintiff,
                                                          CIVIL ACTION NO 6:17-cv-282
     v.

CAMELBAK PRODUCTS, LLC,                                   JURY TRIAL DEMANDED
     Defendant.



                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       1.         This is an action for patent infringement in which Pherah LLC makes the
following allegations against CamelBak Products, LLC.

                                             PARTIES

       2.         Plaintiff Pherah LLC (“Plaintiff” or “Pherah”) is a Texas limited liability
company with its principal place of business at 5068 West Plano Parkway, Plano, Texas, 75093.
          3.      On information and belief, CamelBak Products, LLC (“Defendant” or
“CamelBak”) is a limited liability company organized and existing under the laws of the State of
Delaware, with its principal place of business at 2000 S. McDowell Blvd, Suite 200, Petaluma,
CA 94954.

                                  JURISDICTION AND VENUE

       4.         This action arises under the patent laws of the United States, Title 35 of the
United States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
1338(a).
       5.         Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On
information and belief, Defendant has transacted business in this district, and has committed
and/or induced acts of patent infringement in this district.



                                                 [1]
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        6.     On information and belief, Defendant is subject to this Court’s specific and
general personal jurisdiction pursuant to due process and/or the Texas Long Arm Statute, due at
least to its substantial business in this forum, including: (i) at least a portion of the infringements
alleged herein; and (ii) regularly doing or soliciting business, engaging in other persistent courses
of conduct, and/or deriving substantial revenue from goods and services provided to individuals
in Texas and in this Judicial District.

                                             COUNT I
                      INFRINGEMENT OF U.S. PATENT NO. RE44,652

        7.     Plaintiff is the owner of United States Patent No. RE44,652 (“the ‘652 patent”)
entitled “Computer-Readable Data Product For Managing Sales Information.” The ‘652 Patent
issued on December 17, 2013. A true and correct copy of the ‘652 Patent is attached as Exhibit
A.
        8.     Defendant owns, uses, operates, advertises, controls, sells, and otherwise provides
products and/or services that infringe the ‘652 patent. The ‘652 patent provides, among other
things, “[a] non-transitory computer program product readable by a computing system and
encoding a set of computer instructions implementing a method for managing product
knowledge comprising a plurality of data items related to products offered for sale by a selling
entity, the computing system including a memory arrangement and at least one processing unit,
the method comprising: defining a data model for a plurality of data categories, the data model
establishing relationships between data categories; receiving in the computer system a plurality
of particular data items corresponding to the plurality of data categories; receiving user-defined
relationship information for the plurality of particular data items, the relationship information
relating each of the plurality of particular data items to another of the plurality of particular data
items; presenting the product knowledge, including information about the particular data item, to
a user of the system in a manner established by the data model and the user-defined relationship,
said presenting being in a selected graphical user interface view defining a hierarchy of the data
items from a designated starting point within the hierarchy; wherein the data model is
constructed from a plurality of data instance items interconnected using the user-defined
relationship items for each data instance item, each data instance item being an input that




                                                  [2]
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corresponds to one or more of the data categories and representing at least part of the product
knowledge.”
       9.      Defendant directly and/or through intermediaries, made, has made, used,
imported, provided, supplied, distributed, sold, and/or offered for sale products and/or services
that infringed one or more claims of the ‘652 patent, including at least Claim 24, in this district
and elsewhere in the United States. Particularly, the Defendant’s cloud-based, multi-channel
commerce platform used to run its online store (“The Accused Instrumentality”) comprises a
non-transitory computer program product readable by a computing system and encoding a set of
computer instructions implementing a method for managing product knowledge comprising a
plurality of data items related to products offered for sale by a selling entity, the computing
system including a memory arrangement and at least one processing unit. By making, using,
importing, offering for sale, and/or selling such products and services, and all like products and
services, Defendant has injured Plaintiff and is thus liable for infringement of the ‘652 patent
pursuant to 35 U.S.C. § 271.
       10.     Based on present information and belief, The Accused Instrumentality software
allows a user to define a data model for a plurality of data categories, (e.g., Storefront Design,
Storefront Content, Products, Inventory, Product Categories, Product Options, Store Setting,
Delivery/ Event Date etc.), the data model establishing relationships between data categories, as
shown below. (e.g., The Accused Instrumentality allows for users to define a model set of data
categories which the interface then uses to establish the relationships between the actual data
categories in use).
       11.     Based on present information and belief, The Accused Instrumentality software
receives in a computer system (For example, PC, tablet or smartphone) a plurality of particular
data items corresponding to the plurality of data categories (e.g., Product variant, SKU, Name,
Current Stock Level, Price, Discount corresponding to the “Products”/data category). On present
information and belief, The Accused Instrumentality software receives data items such as
Product variant, SKU, Name, Current Stock Level, Price, Discount from the user/seller and
displays on a computer system.
       12.     Based on information and belief, The Accused Instrumentality software receives
user-defined relationship information for a plurality of particular data items (e.g., Product
variant, SKU, Name, Current Stock Level, Price, Discount corresponding to the “Products”/data


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category), the relationship information relating each of the plurality of particular data items to
another of the plurality of particular data items (e.g., Bulk Quantity/ data item is related to the
Discount/ data item). On present information and belief, The Accused Instrumentality software
allows users to define relationship information between various data items and customize how
they interact with each other in The Accused Instrumentality interface in various data categories
(e.g., Storefront Design, Storefront Content, Products, Inventory, Product Categories, Product
Options, Store Setting, Delivery/ Event Date etc.).
       13.     Based on present information and belief, The Accused Instrumentality system
presents product knowledge, including information about the particular data item (e.g., Product
variant, SKU, Name, Current Stock Level, Price, Discount corresponding to the “Products”/data
category), to a user of the system (e.g., any person with access to the system and who can edit
and define relationships between the data) in a manner established by the data model and the
user-defined relationship, said presenting being in a selected graphical user interface view
defining a hierarchy of the data items from a designated starting point within the hierarchy (e.g.
information will be displayed in a hierarchal structure whereas categories contain certain items
and those item contain item data, and so on). On present information and belief, The Accused
Instrumentality software also presents data graphically to the user organized in a manner
consistent with the previously defined data models and user-defined relationships in the desired
format Column charts etc.
       14.     Based on present information and belief, The Accused Instrumentality presents a
data model (e.g., Column charts etc.) that is constructed from the plurality of data instance items
(e.g., Product variant, SKU, Name, Current Stock Level, Price, Revenue, Purchase Funnel
corresponding to the “Products”/data category and Column chart in Analytics) interconnected
using the user-defined relationship items (e.g., the parameters set by the user in The Accused
Instrumentality’s dashboard) for each data instance item (e.g., Product variant, SKU, Name,
Current Stock Level, Price, Revenue, Purchase Funnel corresponding to the “Products”/data
category), each data instance item (e.g., Product variant, SKU, Name, Current Stock Level,
Price, Revenue, Purchase Funnel corresponding to the “Products”/data category) being an input
that corresponds to one or more of the data categories (e.g., Storefront Design, Storefront
Content, Products, Inventory, Product Categories, Product Options, Store Setting, Delivery/
Event Date etc.) and representing at least part of the product knowledge (e.g., the data instances


                                                [4]
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represent the product knowledge, i.e., the inventory, stock level, order and sales of a particular
product.). 
        15.    In the alternative, because the manner of use by Defendant differs in no
substantial way from language of the claims, if Defendant is not found to literally infringe,
Defendant infringes under the doctrine of equivalents.
        16.    Defendant’s aforesaid activities have been without authority and/or license from
Plaintiff.
        17.    In addition to what is required for pleadings in patent cases, and to the extent any
marking was required by 35 U.S.C. § 287, Plaintiff and all predecessors in interest to the ‘652
Patent complied with all marking requirements under 35 U.S.C. § 287.
        18.    Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff
as a result of the Defendant’s wrongful acts in an amount subject to proof at trial, which, by law,
cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court
under 35 U.S.C. § 284.
                                        PRAYER FOR RELIEF
        WHEREFORE, Plaintiff respectfully requests that this Court enter:
        1.     A judgment in favor of Plaintiff that Defendant has infringed the ‘652 Patent;
        2.     A judgment and order requiring Defendant to pay Plaintiff its damages, costs,
expenses, and prejudgment and post-judgment interest for Defendant’s infringement of the ‘652
Patent as provided under 35 U.S.C. § 284;
        3.     An award to Plaintiff for enhanced damages resulting from the knowing,
deliberate, and willful nature of Defendant’s prohibited conduct with notice being made at least
as early as the date of the filing of this Complaint, as provided under 35 U.S.C. § 284;
        4.     A judgment and order finding that this is an exceptional case within the meaning
of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees; and
        5.     Any and all other relief to which Plaintiff may show itself to be entitled.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of
any issues so triable by right.
                                                Respectfully Submitted,

                                                 [5]
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                                    PHERAH LLC

                                    /s/ Papool S. Chaudhari
Dated: May 9, 2017              By: __________________________
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